       Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 1 of 38




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 JACKSON DIVISION
True the Vote, Jane Coln, Brandie Correro,      §
Chad Higdon, Jennifer Higdon, Gene              §
Hopkins, Frederick Lee Jenkins, Mary            §
Jenkins, Tavish Kelly, Donna Knezevich,         §
Joseph Knezevich, Doris Lee, Lauren Lynch,      §
Norma Mackey, Roy Nicholson, Mark               §
Patrick, Julie Patrick, Paul Patrick, David     §
Philley, Grant Sowell, Sybil Tribble, Laura     §
VanOverschelde, and Elaine Vechorik             §
       Plaintiffs,                              §
                                                §   Cause No. 3:14-cv-00532-HTW-LRA
v.                                              §
The Honorable Delbert Hosemann, in his          §
official capacity as Secretary of State for the §
State of Mississippi, The Republican Party of §
Mississippi, Copiah County, Mississippi         §
Election Commission, Hinds County,              §
Mississippi Election Commission, Jefferson      §
Davis County, Mississippi Election              §
Commission, Lauderdale County,                  §
Mississippi Election Commission, Leake          §
County, Mississippi Election Commission,        §
Madison County, Mississippi Election            §
Commission, Rankin County, Mississippi          §
Election Commission, Simpson County,            §
Mississippi Election Commission, and Yazoo §
County, Mississippi Election Commission         §
                                                §
       Defendants.                              §

                 SUMMARY JUDGMENT EXHIBITS – VOLUME 3

Exhibit          Description
5                Declaration of Jeanne Webb and Incident Reports
                 Declaration of John Hobson and Karen Hobson and Incident
6
                 Reports
7                Declaration of Sandy Steinbacher and Incident Reports
       Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 2 of 38




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 JACKSON DIVISION

True the Vote, Jane Coln, Brandie Correro,      §
Chad Higdon, Jennifer Higdon, Gene              §
Hopkins, Frederick Lee Jenkins, Mary            §
Jenkins, Tavish Kelly, Donna Knezevich,         §
Joseph Knezevich, Doris Lee, Lauren Lynch,      §
Norma Mackey, Roy Nicholson, Mark               §
Patrick, Julie Patrick, Paul Patrick, David     §
Philley, Grant Sowell, Sybil Tribble, Laura     §
VanOverschelde, and Elaine Vechorik             §
       Plaintiffs,                              §
v.                                              §     Cause No. 3:14-cv-00532-HTW-LRA
                                                §
The Honorable Delbert Hosemann, in his          §
official capacity as Secretary of State for the §
State of Mississippi, The Republican Party of §
Mississippi, Copiah County, Mississippi         §
Election Commission, Hinds County,              §
Mississippi Election Commission, Jefferson      §
Davis County, Mississippi Election              §
Commission, Lauderdale County,                  §
Mississippi Election Commission, Leake          §
County, Mississippi Election Commission,        §
Madison County, Mississippi Election            §
Commission, Rankin County, Mississippi          §
Election Commission, Simpson County,            §
Mississippi Election Commission, and Yazoo §
County, Mississippi Election Commission         §
                                                §
       Defendants.


                                     DECLARATION

                                                    By: Jeanne Webb

1.     I, Jeanne Webb, verify under penalty of perjury under the laws of the United
States of America that the following is true and correct. See 28 U.S.C. § 1746.

2.    In the days following the June 24 Republican Primary Run-Off Election, I
was part of a group of True the Vote volunteers who requested access to voting
records from the Circuit Clerks of Rankin and Copiah Counties. The purpose of
the request was to determine whether or not voters who had voted in the

                                                                                EXHIBIT 5
      Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 3 of 38




Democratic Primary unlawfully double voted in the Republican Primary Run-Off
Election and whether any other irregularities had occurred during the Election.

3.    I made an oral request for voter pollbooks and absentee ballot applications in
person at the Copiah County Circuit Clerk’s office on July 7, 2014. Citing to
Mississippi statute 23-15-911, Circuit Clerk Edna E. Stevens did not allow us to
review unredacted records.

4.     At Ms. Stevens request, I documented my oral request for records in a
written “public information request.” I made the request to Edna E. Stevens, the
Circuit Clerk of Copiah County. In the request, I asked for a list of all republican
and democratic voters who voted in person on election day or via absentee ballot in
their respective primary and run-off elections. I further requested absentee ballot
applications and envelopes and voter pollbooks.

5.     I also made a request for records from the Rankin County Circuit Clerk’s
office on July 7, 2014.

6.    I made an oral request for voter pollbooks from Circuit Clerk Becky Boyd.


7.     Ms. Boyd denied us full access to voter pollbooks, but allowed public
inspection of voter pollbooks only if the records were redacted of voter birthdates
at a cost of $.50/page or $20/hour.

8.    Based on my experience, I was unable to access or inspect complete voter
records within Rankin and Copiah Counties.

9.     Attached to this declaration are true and correct copies of the incident
reports I completed regarding my visits to the Copiah and Rankin County Circuit
Clerks’ offices. The incident reports are filled out in my own handwriting and I
recognize the writings as ones I completed based on their appearance, contents and
substance. Included in the incident report regarding Copiah County is a true and
correct copy of my written records request. I recognize it too as a document filled
out in my own handwriting and a correct copy of the request I completed based on
its appearance, contents and substance.

10. The attached incident reports were prepared by me to describe the events
that occurred during my visits. I made the reports immediately after the events
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 4 of 38
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 5 of 38




                                                            EXHIBIT 5-A
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 6 of 38
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 7 of 38
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 8 of 38
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 9 of 38
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 10 of 38




                                                               EXHIBIT 5-B
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 11 of 38
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 12 of 38




                                                               EXHIBIT 5-C
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 13 of 38
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 14 of 38




                                                                    EXHIBIT 5-D
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 15 of 38
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 16 of 38
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 17 of 38
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 18 of 38
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 19 of 38
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 20 of 38
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 21 of 38
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 22 of 38
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 23 of 38
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 24 of 38




                                                           EXHIBIT 6
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 25 of 38
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 26 of 38
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 27 of 38
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 28 of 38




                                                                EXHIBIT 6-A
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 29 of 38
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 30 of 38




                                                                EXHIBIT 6-B
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 31 of 38
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 32 of 38
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 33 of 38
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 34 of 38
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 35 of 38




                                                                EXHIBIT 7
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 36 of 38
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 37 of 38




                                                                EXHIBIT 7-A
Case 3:14-cv-00532-NFA Document 83-3 Filed 08/06/14 Page 38 of 38
